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 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   Matthew C. Bockmon, Bar #161566
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DUANE PATRICK PETERSEN
 6
 7
 8                                  IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )                CASE NO. CR-S-12-273 GEB
                                           )
12                     Plaintiff,          )               STIPULATION AND [PROPOSED] ORDER
                                           )               TO CONTINUE STATUS CONFERENCE AND
13         v.                              )               TO EXCLUDE TIME PURSUANT TO THE
                                           )               SPEEDY TRIAL ACT
14                                         )
     DUANE PATRICK PETERSEN,               )                Date: April 19, 2013
15                                         )                Time: 9:00 a.m.
                       Defendant.          )                Judge: Garland E. Burrell, Jr.
16   _____________________________________ )
17          It is hereby stipulated and agreed to between the United States of America through TODD PICKLES,
18   Assistant U.S. Attorney, and defendant, DUANE PATRICK PETERSEN, by and through his counsel,
19   MATTHEW C. BOCKMON, Assistant Federal Defender, that the status conference set for Friday, March 1,
20   2013, be continued to Friday, April 19, 2013, at 9:00 a.m.
21          The reason for this continuance is because additional time is needed for attorney - client preparation.
22          It is further stipulated that the time period from the date of this stipulation, February 26, 2013, through
23   and including the date of the new status conference hearing, April 19, 2013, shall be excluded under the Speedy
24   Trial Act (18 U.S.C. §3161(h)(7)(A) &(B)(iv) and Local Code T4, due to the need to provide defense counsel
25   with the reasonable time to prepare, and that the ends of justice to be served by granting the continuance
26   outweigh the best interests of the public and the defendant in a speedy trial.
27   ///
28
                      Case 2:12-cr-00273-GEB Document 47 Filed 02/27/13 Page 2 of 2


 1   Dated: February 26, 2013
 2                                                                                Respectfully submitted,
 3                                                                                JOSEPH SCHLESINGER
                                                                                  Acting Federal Defender
 4
                                                                                  /s/ Matthew C. Bockmon
 5                                                                                MATTHEW C. BOCKMON
                                                                                  Assistant Federal Defender
 6                                                                                Attorney for Defendant
                                                                                  DUANE PATRICK PETERSEN
 7
     Dated: February 26, 2013                                                     BENJAMIN B. WAGNER
 8                                                                                United States Attorney
 9                                                                                /s/ Matthew C. Bockmon for
                                                                                  TODD PICKLES
10                                                                                Assistant U.S. Attorney
                                                                                  Attorney for Plaintiff
11
12                                                                        ORDER
13              Based on the reasons set forth in the stipulation of the parties filed on February 26, 2013, and good
14   cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY
15   ORDERED that the status conference currently scheduled for Friday, March 1, 2013, be vacated and that the
16   case be set for Friday, April 19, 2013, at 9:00 a.m. The Court finds that the ends of justice served by granting
17   such a continuance outweigh the best interests of the public and the defendant in a speedy trial. Accordingly,
18   IT IS HEREBY ORDERED that, for the reasons stated in the parties’ February 26, 2013, stipulation, the time
19   within which the trial of this matter must be commenced under the Speedy Trial Act is excluded during the
20   time period from the date of this stipulation, February 26, 2013, through and including April 19, 2013, pursuant
21   to 18 U.S.C. §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.
22   Dated: February 26, 2013
23
24                                                                       GARLAND E. BURRELL, JR.
25                                                                       Senior United States District Judge

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27
28   Stipulation and [Proposed] O rder to C ontinue Status C onference       2
